Case 08-13141-BLS Doc 1307-3 Filed 06/08/09 Page 1 of 2

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Case 08-13141-BLS Doc 1307-3 Filed 06/08/09 Page 2 of 2

ORDER
For good cause showing, it is ORDERED that:
This action be stayed in its entirety as to all parties until such time that notice is provided
to the Court that the automatic stay resulting from the bankruptcy petition filed by Tribune
Company, Tribune Media Net, Inc. and Los Angeles Times Communications, LLC has been

lifted or until the Bankruptcy Court determines otherwise.
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Ao Cawducel Gre regnrerd.
, Gregory W. Alarcon

DATED: January 7, 2009
HONORABLE GREGORY ALARCON

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STIPULATION TO STAY ENTIRE ACTION
LAI 6761465.1

